Case 7:15-cv-00063 Document 21 Filed in TXSD on 08/24/15 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION

KENNETH GENTAPANAN AND
SHARON GENTAPANAN CIVIL ACTION NUMBER
VS.
M-15-63

VV\./V\_/\_/

ASI LLOYDS

J U D G M E N T

On the 17th day of August, 2015, came on to be considered
“Defendant ASI Lloyds’ Motion for Summary Judgment” (Docket
Entry' Number lO) and the Court, after having considered said
motion, the pleadings on file, and noting that Plaintiffs filed
no response and were not present for the hearing, was of the
opinion, for the reasons stated on the record, that said motion
should be and is hereby granted.

lt is, therefore, ORDERED, ADJUDGED and DECREED that
Defendant's Motion for Summary Judgment is hereby GRANTED and
all claims asserted by Plaintiff against Defendant are hereby

DISMISSED.
DONE this Q!}Q; day of August, 2015, at McAllen, Texas.

pizza

Ricardo H. Hinojosa
CHIEF U.S. DISTRICT JUDGE

 

